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                   EXHIBIT A
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                                                                                               Court Plaza North
                                                                                                25 Main Street
                                                                                                 P.O. Box 800
                                                                                          Hackensack, NJ 07602-0800
                                                                                      201-489-3000 201-489-1536 fax
                                                                                                       —
                                                                                                   New York
 Jason R. Melzer                                                                                       —
 Member                                                                                            Delaware
 Admitted in NJ and NY                                                                                 —
                                                                                                   Maryland
 Reply to New Jersey Office                                                                            —
 Writer’s Direct Line: 201-525-6313                                                                  Texas
 Writer’s Direct Fax: 201-678-6313                                                                     —
 Writer’s E-Mail: jmelzer@coleschotz.com                                                            Florida



                                                     January 15, 2025

Via Electronic Mail
Matthew S. Blum, Esq.
Rosenberg & Estis, P.C.
733 Third Avenue
New York, NY 10017

            Re:          Tecspec LLC, et al. v. Michael Donnolo, et al.
                         Civil Action No. 24 Civ. 8077 (JHR)

Dear Mr. Min:

        We write regarding the above-captioned matter. As you are aware, on January 13, 2025,
Judge Rearden ordered the parties to meet regarding the outstanding passwords and information
that Plaintiffs still require in order to operate Tecspec LLC.

            Below is a list of what Tecspec LLC requires:

            1.           All items marked in red in the network map attached hereto as Exhibit A;

            2.           All steps required for a “cold start,” i.e. post power outage, all steps followed to

begin all processes for the following machines:

                                      a)   Haas Machine;

                                      b)   Swiss lathe;

                                      c)   Tiger Saw; and

                                      d)   Laser machines.

            3.           With regards to the conveyor belt processes:

                                      a.   How were the QR codes generated and applied?




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                          b.        Do these QR codes provide subcomponent traceability and how are

                  the lookups done for that?

                          c.        When the cameras scan the QR codes it will serialize an existing

                  unit in the database after it passes all the tests, how are units initially entered into

                  the database?

                                  i.       If it is a manual process, please document.

                          d.        There are multiple versions of the conveyor.py script that use

                  smaller portions of the belt - were these iterative or are these used for different

                  components?

                                  i.       If literative, what is the latest version?

         4.       What is the startup process for the conveyor belt system in normal operation?

                          a.        Which elements of the "conveyor belt ecosystem" need to be

                  restarted on their own?

                          b.        Are there scripts that need to be run concurrently with one another

                  to have multiple moving parts or does conveyor.py handle it all?

                                  i.       Please specifically address the cameras in addition to other

                          elements.

         5.       There are 6 kiosks and 6 test rigs, there is also pcam07, pcam08, pcam09, and

pcam10. What are their functions?

         6.       How are the testrigX.py files run?

                          a)        Does somebody need to take an action to trigger a job or are they

                  part of a pipeline?

                          b)        If they are triggered automatically, what is the trigger criteria?

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                           c)      If they are run manually, are there work instructions, documentation,

                  etc. on what tests are used for what processes?

                                   1.       If yes, please provide.

         7.       Please share any documentation related to the calibration of testing equipment,

including but not limited to:

                           a)      How the tests were designed;

                           b)      What the pass/fail criteria is;

                           c)      What the calibration and configuration process is; and

                           d)      All documentation around what tests are used for what assemblies.

                        If there is an yPRDs or other engineering documents related to the design and

                        validation of this system, please provide same.

         8.       Per Tecspec VLan sheet, there are access points called apContainer and

ap3. apContainer is near the Container office and ap3 near the dock wall far end as noted. Are

these two items still active and if so where exactly are they located?

         9.       Where are the tpBridge2 (noted as inventory cart uplink) and tpBridge3 located on

the floor or are they configured in the Cloudkey0 or Cloudkey1?

         10.      Does the Cloudkey0 or 1 use DNS?

                           a)      Is there any special configuration on the cloudkeys for clients to

                  access them?

         11.      Were all the Facility security cameras online accessed through the cloudkey1

Protect section? Please provide exactly where to find the following:

                           a)      camF1; and

                           b)      camF3.

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         12.      Do all the devices such as the TVs (Kiosks around conveyor belt) need to access

the TecspecProd wireless network to run the Python scripts?

                          a)     Is there a list of the python scripts that ran through all the VMs?

                                     1. If yes, please provide.

         13.      What does the linux computer on the CNC haas machine provide or control?

         14.      Please confirm the username and passwords for all the Ubiquit cameras, as the ones

previously provided do not work.

         15.      Where are the Nozzles, Leveling Leg feet, and Leveling leg threaded rod programs

and step files and other items that were made on the Swiss Lathe?

                          a)     To the extent that such files were located on a USB key, Tecspec

                  LLC is not in possession of the USB key.

         16.      Please provide all the End panel drawings;

         17.      Please identify and locate the program to tap the holes for the nozzles;

         18.      Please provide the name of the SQL program that runs the assembly line.

                          a)     Where is the program located?

                          b)     How is it executed?

         19.      Please provide the name and the function of all the Python script;

         20.      Regarding Two Penn Plaza, please provide:

                          a)     the internal and external Wiring Diagrams; and

                          b)     all the induction units with the sequence of operations and points

                  list;

                          c)     all the induction units and Central panel wiring diagrams with the

                  sequence of operations and points list;

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         21.      All Virtual Machine descriptions and what they do; and

         22.      Software used to program Belimo Valve, please see screenshot attached hereto as

Exhibit B.

       Please advise if Defendants are available for a video conference at 10:00 am on January
23, 2025 to discuss the above, as directed by Judge Rearden at the January 13, 2025 hearing.
Should you have any questions, I am available to discuss this matter further.


         Plaintiffs reserve all rights.


                                                 Very truly yours,

                                                 COLE SCHOTZ P.C.

                                                 /s/ Jason R. Melzer




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TECSPEC EQUIPMENT LOCATIONS
                                              NORTH WALL (Back of Warehouse)




                                              Back Wall
                                              Netgear - swCNC
                                              ap1 - Access Point
                                              12 Port Panel
            Behind Laser
            Netgear Switch - swDMG
            apInv (ap6) - Access Point                                         Inside GR510
            12 Port Panel                                                      Netgear Switch - swur10
            Mark Arboa Laptop

                                                                                                                           Behind TVs & Conveyor
                                                                                                                           Netgear Switch - swConv2
                                                                                                                           Netgear Switch - swConv1
                                                                                                                           Netgear Switch - swConv0
                                                                                                                           Philips - Station 1
                                                                                                                           Philips - Station 2
                                                                                                                           ap5 - Access Point
                                              Middle Column                                                                14 Port Panel
                                              Inif Switch - swInv                                                          Cloudkey0 -
                                              ap4a - Access Point                                                                                     Netgear Switch - swConv4
                                                                                                                                                                           Under Conveyor
                                              12 Port Panel                                                                                           TV adapter (Kiosk)
EAST WALL                                     HP Printer 11x17                                                                                        Adam Devices - 1-15 Around Conveyor   WEST WALL
                                              HP Printer
                                              Big Zebra 1 Printer                                                                                     Modbus2
            Upstairs Office                   Big Zebra 2 Printer                                                                                     pi8
            Dell Server R240 - Linux Ubuntu
            SW0 - Switch
            SW1 - Switch                      apContainer
            Cloudkey1
            apMEZZ (ap4b) - Access Point
            Arris Modem (Optimum)
            Pfsense Router




                                                                                                                           ap3

            Timeclock                         12 Port Panel                                                                12 Port Panel
                                                                                                         BEHIND SHELVING

            Front Door


                                                 SOUTH WALL (Loading Dock)
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